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                           SECOND REVISED NOTICE OF HEARING




                     UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT



United States of America

       v.                                          Case No. 2:20-cr-112-2

Dante Flowers, Jr.



TAKE NOTICE that the above-entitled case has been rescheduled at 01:30 p.m. on Tuesday,
October 17, 2023 in Burlington, Vermont, before Honorable Christina Reiss, District Judge, for a
Sentencing.


Location: Courtroom 510                                    JEFFREY S. EATON, Clerk
RESCHEDULED FROM 7/18/2023 at 10 a.m.                      By: /s/ Jennifer B. Ruddy
                                                           Deputy Clerk
                                                           7/21/2023

TO:

Wendy L. Fuller, AUSA                              The court has allotted up to two (2) hours for
Nicole Cate, AUSA                                  this hearing. Please contact the court if you
                                                   anticipate you need more time.
Mark D. Oettinger, Esq.

Johanna Masse, Court Reporter
